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THE UNITED STAT_ES DISTRICT COURT FOR THE
EASTERN I)ISTRICT OF VIKGINIA
Alexandria Division

UNITED STATES OF AMERICA, )
)
)

v. ) Criminal Action No- 1218-cr-83
)
PAUL J. MANAFORT, )
Defendant. )
ORDER

`1` his matter came before thc Court on dcfcndant’s Motion to Supprcss Evidencc from
Rcsidence (Doc. 47_).

I-`or the reasons stated in the accompanying Mcmorandum Opinion, and for good cause, '

lt is hereby ORDERED that defendant’s Motion to Suppress Evidencc from Residencc
{Doc. 47) is DENIED.

The Clerk is directed to send a copy of this Order to all counsel of rocord.

Alexandria._ Virginia
July 10, 2018

     
 

T. S. Ellis, III .
United States Distric Judge

